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                     UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK

JOCELYN TROELL, et. al.,

                           Plaintiffs,               Docket No. 24 Civ. 07136 (JAV)

                  vs.

BINANCE HOLDINGS LIMITED, et. al.,

                           Defendants.



 BINANCE HOLDINGS LIMITED’S MEMORANDUM OF LAW IN OPPOSITION TO
    PLAINTIFFS’ MOTION TO SERVE DEFENDANT CHANGPENG ZHAO BY
                        ALTERNATIVE MEANS


                                                   CAHILL GORDON & REINDEL LLP
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        Plaintiffs’ motion (ECF No. 45) (the “Service Motion”) seeks permission under Federal

Rule of Civil Procedure 4(f)(3), to serve process on Defendant Changpeng Zhao through

alternative means, including service by email to Binance Holdings Limited’s counsel in this

action—Cahill Gordon & Reindel LLP (“Cahill”).

        Mr. Zhao—represented by Baker & Hostetler LLP (“Baker”) in this action for the limited

purpose of responding to the Service Motion—has filed a comprehensive opposition to the Service

Motion (ECF No. 63). That submission demonstrates why Plaintiffs are not entitled to alternative

service under Rule 4(f)(3) and why, even if they were, Plaintiffs’ proposed methods of service do

not comport with due process.

        This separate memorandum is limited to responding to Plaintiffs’ baseless claim that

service via email to Cahill is somehow appropriate because Cahill formerly represented Mr. Zhao

in two other cases alleging violations under the Anti-Terrorism Act.1 Even if there were some

basis for alternative service (and as Mr. Zhao demonstrates, there is not), there would be no basis

for service on Mr. Zhao’s former counsel in other cases—particularly when counsel for Mr. Zhao

has appeared in this case for the limited purpose of contesting service. Plaintiffs do not cite any

case granting the extreme relief they seek in an analogous context (i.e., alternative service on

former counsel in other cases where Plaintiff has current counsel in the case where service is at

issue), and we are aware of none. Under the circumstances, not only would permitting Plaintiffs




1
  See Gess v. BAM Trading Services Inc., No. 24-cv-00134 (M.D. Ala.); Raanan v. Binance Holdings Ltd.,
No. 24-cv-00697 (S.D.N.Y.); see also Service Motion at 1. Plaintiffs fail to mention that they have taken
the position that Ranaan is not even related to this case. See, e.g., ECF No. 2. They also do not mention
(through no fault of their own) that since they filed their Service Motion, Baker filed substitutions of counsel
in both Gess and Raanan—seeking to replace Cahill as counsel of record for Mr. Zhao. Thus, Cahill no
longer represents Mr. Zhao in any ATA action.
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to serve Mr. Zhao by email on Cahill be unprecedented, the precedent it would create would be

dangerous.

                                        CONCLUSION

       For the reasons set forth above and in Mr. Zhao’s separate memorandum of law, Plaintiffs’

request to serve Mr. Zhao via email to Cahill should be denied.



Date: February 20, 2025                             Respectfully submitted,

                                                      /s/ Samson A. Enzer
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